CENTRAL DISTRICT OF CALIFORNIA

Case 2:15-cv-05903-DDP-JEM Document 245 Filed 04/19/23 Page 1iof1i Page ID #:5513
UNITED STATES DISTRICT COURT

TRANSCRIPT ORDER FORM

Please use one form per court reporter per case, and contact court reporter

COURT USE ONLY
DUE DATE:

directly immediately after e-filing form. (Additional instructions on next page.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

la. Contact Person 2a. Contact Phone 3a. Contact E-mail
forthis Order |C@S¢¥ Kasher Number 213.977.5265 Address ckasher@aclusocal.org
1b. Attorney Name . 2b. Attorney Phone 3b. Attorney E-mail .
(if different) Peter Eliasberg Number 213.577.5228 ‘Address peliasberg@aclusocal.org

 

 

 

4, MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)

 

 

[ACLU Foundation of Southern California
1313 West Eighth Street
ILos Angeles, CA 90017

5. Name & Role of
Party Represented

 

N/A

 

 

6. Case Name

 

United States of America v. County of Los Angeles

 

 

 

 

7a. District Court
Case Number

 

 

15-cv-05903

 

7b. Appeals Court
Case Number

 

 

 

 

 

 

 

8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):

[_] DIGITALLY RECORDED

 

TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: | Maria Bustillos

 

9, THIS TRANSCRIPT ORDER IS FOR: [ | Appeal [x] Non-Appeal

[-] Criminal [X] Civil

[|] CJA [_] USA [] FPD [_] In forma pauperis (Court order for transcripts must be attached)

 

10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):

You MUST check the docket to see if the transcript has already been filed, and if so,
provide the "Release of Transcript Restriction" date in column c, below.

 

a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court

order releasing transcript to the ordering party must be attached here or emailed to
transcripts_cacd@cacd.uscourts.gov.)

b. SELECT FORMAT(S)

(CM/ECF access included
with purchase of transcript.)

c. RELEASE OF TRANS.
RESTRICTION DATE

d. DELIVERY TYPE
30-day, 14-day, 7-day, 3-day, Daily, Hourly

 

PROCEEDING TYPE / PORTION

 

HEARING || Minute Order JUDGE PDF TEXT / CONDEN- CM/ECF worp (Provide release date o, (Check with court reporter
DATE _Docket# If requesting less than full hearing, specify portion (e.g., witness or time). ail ASCIL PAPER SED ACCESS wnpaG efiled transcript, or check to| before choosing any delivery time
(ifavailable) (name) CJA orders: indicate if openings, closings, voir dire, or instructions requested] (email) (email) (email) (web) certify none yet on file. ) sooner than "Ordinary-30.")
04/19/2023 Pregerson Motion for Order Setting Deadlines for Substantial © O O © O O © DAILY (Next day)

Compliance

 

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11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders, orders for transcripts of proceedings involving only a co-defendant, & special authorizations to be
requested in Section 14 of CJA-24 Voucher (attach additional pages if needed).

 

 

 

 

12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
payment under the Criminal Justice Act.

G-120 (06/18)

 

Date

 

April 19, 2023

 

 

Signature

 

 

s/ Peter Eliasberg

 

 

 

 
